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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

YELLOW CORPORATION, et al.,                             Case No. 23-11069 (CTG)

                 Debtors. 1                             Objection deadline: December 20, 2023 at 4:00 pm (ET)
                                                        Hearing date: January 22, 2024 at 2:00 pm (ET)


         NOTICE OF MOTION OF STEVEN HENSLEY FOR RELIEF FROM THE
            AUTOMATIC STAY PURSUANT TO SECTION 362(d) OF THE
                           BANKRUPTCY CODE

         PLEASE TAKE NOTICE that on December 6, 2023, Steven Hensley (the “Movant”), by

and through undersigned counsel filed the Motion of Steven Hensley For Relief From The

Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code (the “Motion”) with the United

States Bankruptcy Court for the District of Delaware (the “Court”).

         PLEASE TAKE FURTHER NOTICE that if you oppose the Motion or if you want the

court to consider your views regarding the Motion, you must file a written response with the Court

detailing your objection or response by December 20, 2023, at 4:00 p.m. (ET). You must also

serve a copy of your response upon undersigned counsel.

         PLEASE TAKE FURTHER NOTICE that the hearing on the Motion is scheduled for

January 22, 2024 at 2:00 pm (ET) before the Honorable Craig T. Goldblatt in Courtroom No. 7,

3rd Floor, in the United States Bankruptcy Court located at 824 N. Market Street, Wilmington,

Delaware 19801.




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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park,
Kansas 66211.
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    IF YOU DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION
AND MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE
SCHEDULED HEARING DATE.



Dated: December 6, 2023          GELLERT SCALI BUSENKELL & BROWN, LLC

                                 /s/ Charles J. Brown III
                                 Charles J. Brown III (DE 3368)
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